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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ALEJANDRO HERNANDEZ,                            §
                                                §
        Plaintiff,                              §
                                                §
V.                                              §   CIVIL ACTION NO. 3:15-CV-00783-P
                                                §
STATE FARM LLOYDS,                              §
                                                §               JURY DEMAND
        Defendant.                              §

                                  NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time Plaintiff will file the appropriate dismissal documents with the Court. Accordingly, the

parties ask the action, including any upcoming deadlines, be abated.

                                            Respectfully submitted,

                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson
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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on the 20th day of May 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and e-mail in
accordance with the Federal Rules of Civil Procedure:

       Via Electronic Filing and E-mail:
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               Counsel for Plaintiff



                                           /s/ Adrienne B. Hamil
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